

Matter of Brunetto v New York State Off. of Mental Health (2019 NY Slip Op 02020)





Matter of Brunetto v New York State Off. of Mental Health


2019 NY Slip Op 02020


Decided on March 15, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 15, 2019

PRESENT: WHALEN, P.J., PERADOTTO, CARNI, NEMOYER, AND WINSLOW, JJ. (Filed Mar. 15, 2019.) 


MOTION NO. (1302/18) CA 18-00604.

[*1]IN THE MATTER OF MICHAEL BRUNETTO, PETITIONER-APPELLANT, 
vNEW YORK STATE OFFICE OF MENTAL HEALTH, ERIE COUNTY MEDICAL CENTER, SUICIDE PREVENTION AND CRISIS SERVICES, INC., BRYLIN HOSPITAL, AND LAKESHORE BEHAVIORAL HEALTH, RESPONDENTS-RESPONDENTS. (APPEAL NO. 1.)



MEMORANDUM AND ORDER
Motion for reargument or leave to appeal to the Court of Appeals denied.








